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Attorneys for Plaintiff and Counter-defendant Calista Enterprises Ltd.

                            UNITED STATES DISTRICT COURT
                       DISTRICT OF OREGON – PORTLAND DIVISION



CALISTA ENTERPRISES LTD.,                           Case No. 3:13-cv-01045-SI
a Republic of Seychelles company,
                                                    EXHIBIT E
   Plaintiff,                                       TO PLAINTIFF’S FIRST AMENDED
                                                    COMPLAINT
- v. -

TENZA TRADING LTD.,
a Cyprus company,

   Defendant.


Val Gurvits | Matthew Shayefar | Boston Law Group, PC                                              Page 1
825 Beacon Street, Suite 20 | Newton Centre, MA 02459                        Exhibit E to Plaintiff’s First
617-928-1800 | vgurvits@bostonlawgroup.com | matt@bostonlawgroup.com                Amended Complaint
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TENZA TRADING LTD.,
a Cyprus company,

   Counterclaim Plaintiff,

- v. -

CALISTA ENTERPRISES LTD.,
a Republic of Seychelles company, and
ALEXANDER ZHUKOV,
a Czechoslovakian citizen,

   Counterclaim Defendants.




Respectfully Submitted,                             Dated: August 7, 2014
Plaintiff Calista Enterprises Ltd.
By its Attorneys,

/s/ Matthew Shayefar                                /s/ Evan Fray-Witzer
Matthew Shayefar (pro hac vice)                     Evan Fray Witzer (pro hac vice)
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                       NATIONAL ARBITRATION FORUM


                                   DECISION


                  Tenza Trading Ltd. v. Calista Enterprises Ltd.
                        Claim Number: FA1303001491515


PARTIES
    Complainant is Tenza Trading Ltd. (“Complainant”), represented by Anna M.
    Vradenburgh of The Eclipse Group, LLP,
                                      LLP California, USA. Respondent is Calista
    Enterprises Ltd. (“Respondent”), represented by Matthew Shayefar of Boston
               PC Massachusetts, USA.
    Law Group, PC,


REGISTRAR AND DISPUTED DOMAIN NAMES
                              NAMES
    The domain names at issue are <largeporntube.com>
                                  <largeporntube.com>,
                                    argeporntube.com> <goldporntube.com>,
                                                       <goldporntube.com>
    <kissporntube.com>,
    <kissporntube.com>           <boxporntube.com>,
                                 <boxporntube.com>                 <pipeporntube.com>,
                                                                   <pipeporntube.com>
    <69porntube.com>,
    <69porntube.com>            <royalporntube.com>,
                                <royalporntube.com>              <bookporntube.com>,
                                                                 <bookporntube.com>
    <cubeporntube.com>,
    <cubeporntube.com>           <freshporntube.com>,
                                 <freshporntube.com>               <lustporntube.com>,
                                                                   <lustporntube.com>
    <bonusporntube.com> and <directporntube.com>
    <bonusporntube.com>,                 be.com> registered with Moniker
                            <directporntube.com>,
    Online Services LLC.
                    LLC.


PANEL
    The undersigned certify that they have acted independently and impartially and
    to the best of their knowledge have no known conflict in serving as Panelists in
    this proceeding.


    Hugues G. Richard, David P. Miranda, and Paul DeCicco as Panelists.




                                                                                   Ex. E - p. 1
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PROCEDURAL HISTORY
    Complainant submitted a Complaint to the National Arbitration Forum
    electronically on March 25, 2013; the National Arbitration Forum received
    payment on March 25, 2013.


    On March 27, 2013, Moniker Online Services LLC confirmed by e-mail to the
    National Arbitration Forum that the <largeporntube.com>,
                                        <largeporntube.com> <goldporntube.com>,
                                                             <goldporntube.com>
    <kissporntube.com>,
    <kissporntube.com>            <boxporntube.com>,
                                  <boxporntube.com>               <pipeporntube.com>,
                                                                  <pipeporntube.com>
    <69porntube.com>,
    <69porntube.com>            <royalporntube.com>
                                <royalporntube.com>,
                                                om>               <bookporntube.com>,
                                                                  <bookporntube.com>
    <cubeporntube.com>,
    <cubeporntube.com>            <freshporntube.com>,
                                  <freshporntube.com>              <lustporntube.com>,
                                                                   <lustporntube.com>
    <bonusporntube.com> and <directporntube.com> domain names are registered
    <bonusporntube.com>,
    with Moniker Online Services LLC and that Respondent is the current registrant
    of the names. Moniker Online Services LLC has verified that Respondent is
    bound by the Moniker Online Services LLC registration agreement and has
    thereby agreed to resolve domain disputes brought by third parties in accordance
    with ICANN’s Uniform Domain Name Dispute Resolution Policy (the “Policy”).


    On April 12, 2013, the Forum served the Complaint and all Annexes, including a
    Written Notice of the Complaint, setting a deadline of May 2, 2013 by which
    Respondent could file a Response to the Complaint, via e-mail to all entities and
    persons listed on Respondent’s registration as technical, administrative, and
    billing contacts, and to postmaster@largeporntube.com,
    postmaster@goldporntube.com, postmaster@kissporntube.com,
    postmaster@boxporntube.com, postmaster@pipeporntube.com,
    postmaster@69porntube.com, postmaster@royalporntube.com,
    postmaster@bookporntube.com, postmaster@cubeporntube.com,
    postmaster@freshporntube.com, postmaster@lustporntube.com,
    postmaster@bonusporntube.com, postmaster@directporntube.com. Also on
    April 12, 2013, the Written Notice of the Complaint, notifying Respondent of the
    e-mail addresses served and the deadline for a Response was transmitted to


                                                                                    Ex. E - p. 2
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    Respondent via post and fax, to all entities and persons listed on Respondent’s
    registration as technical, administrative and billing contacts.


    Respondent submitted a Response, which was determined to be complete on
    May 2, 2013.


    Complainant submitted an Additional Submission, which was determined to be
    complete on May 7, 2013.


    On May 21, 2013, pursuant to Respondent’s request to have the dispute decided
    by a three-member Panel, the National Arbitration Forum appointed Hugues G.
    Richard, David P. Miranda, and Paul DeCicco as Panelists.


    Having reviewed the communications records, the Administrative Panel (the
    "Panel") finds that the National Arbitration Forum has discharged its responsibility
    under Paragraph 2(a) of the Rules for Uniform Domain Name Dispute Resolution
    Policy (the "Rules") "to employ reasonably available means calculated to achieve
    actual notice to Respondent" through submission of Electronic and Written
    Notices, as defined in Rule 1 and Rule 2.


RELIEF SOUGHT
    Complainant requests that the domain names be transferred from Respondent to
    Complainant.


PARTIES' CONTENTIONS
    A. Complainant


    Policy ¶ 4(a)(i)




                                                                                     Ex. E - p. 3
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The Complainant holds the following trademark registrations for the PORNTUBE
mark:
               i. United States Patent and Trademark Office (“USPTO”) (Reg.
                    No. 3,936,197 filed October 29, 2008, registered March 29,
                    2011).
               ii. Canadian Intellectual Property Office (“CIPO”) (Reg. No.
                    TMA779,803 filed March 19, 2009, registered October 12,
                    2010).
              iii. European Union Office for Harmonization in the Internal Market
                    (“OHIM”) (Reg. No. 8,725,401 filed October 29, 2008, registered
                    June 2, 2010).


The PORNTUBE mark was assigned to the Complainant on February 16, 2011.
Prior to that, it was continuously and consistently used by EMC Ideas, Inc. from
May 2005 through early 2011. The PORNTUBE mark has been used by the
Complainant since the assignment.


Therefore, the Complainant states that the Respondent’s domain names are
confusingly similar to Complainant’s PORNTUBE mark.


Policy ¶ 4(a)(ii)


The disputed domain names were registered well after the PORNTUBE mark
was granted trademark rights through Complainant’s (and its predecessor in title)
consistent and continuous use, and after the original filing date with the USPTO
in 2008. Complainant registered the <porntube.com> domain name in 2004.


The Respondent is not commonly known by any of the disputed domain names.
Respondent operates via an affiliate program through Complainant’s business,
and improperly registered the disputed domain names using Complainant’s mark


                                                                               Ex. E - p. 4
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without Complainant’s permission. Respondent cannot demonstrate any
legitimate noncommercial or fair use of the domain names. The resolving website
offers listings of third party hyperlinks directing to adult entertainment services, of
which Complainant was unaware.


Policy ¶ 4(a)(iii)


The Complainant asserts that the Respondent uses the disputed domain name
strictly for commercial gain with the intent to divert consumers, since the
Respondent was registered with Complainant’s affiliate marketing program. From
this, the Complainant argues that the Respondent attempts to link Internet users
to different websites that feature services substantially similar or identical to
Complainant’s services under the PORNTUBE mark, and features links to
unrelated adult websites throughout the Internet.


In any event, the Complainant states that the Respondent was well-aware of
Complainant’s rights in the PORNTUBE trademark, yet intentionally registered
thirteen domain names using the PORNTUBE mark.


B. Respondent


Policy ¶ 4(a)(i):


The Respondent asserts that the Complainant’s PORNTUBE mark consists of
generic and descriptive designations for websites offering streaming adult-
themed video content. To this extent, the Respondent has filed a petition for
cancellation of the registration with the USPTO. The Respondent states that its
domain names are not confusingly similar to Complainant’s mark.




                                                                                   Ex. E - p. 5
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Moreover, the Respondent relies on the Complainant’s agreement with the owner
of the PORNOTUBE trademark where it was agreed that there would be no
confusion between the marks PORNTUBE and PORNOTUBE. If there is no
confusion between the trademarks subject to that agreement, the Respondent
argues     that   the   disputed   domain   names    achieve    the   same     result.


Policy ¶ 4(a)(ii):


Prior to the current dispute, Respondent operated websites that drove traffic to
third party “porn tubes,” including to Complainant’s website through an affiliate
marketing program. The Respondent explains that the Complainant’s own explicit
invitation compelled Respondent to join Complainant’s affiliate program, and
Respondent was responsible for more than 8% of the traffic visiting
Complainant’s website through the affiliate program. The Respondent states that
this constitutes a bona fide offering of services.


Policy ¶ 4(a)(iii):


The Respondent asserts that it does not engage in bad faith by forwarding users
to other porn tube websites. The website to which the disputed domain name
redirects belongs to Complainant, and even if it did not, the use would not
demonstrate an illegitimate service.


Moreover, the Respondent states that it does not disrupt Complainant’s business
by its use of the disputed domain names and is not a direct competitor of
Complainant. Respondent does commercially benefit from its relationship with
Complainant, although not as a result of consumer confusion.


Reverse Domain Name Hijacking:




                                                                                 Ex. E - p. 6
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Complainant engages in Reverse Domain Name Hijacking, as it cannot satisfy a
single factor under the Policy.


C. Additional Submissions


Complainant


Complainant has established its rights in the PORNTUBE mark through
trademark registrations in three different jurisdictions, and Respondent’s petition
to cancel the registration does not negate Complainant’s rights. Complainant’s
PORNTUBE mark is inherently distinctive.


Therefore, the disputed domain names are confusingly similar to Complainant’s
mark, which Respondent admits in its Response.


The Complainant asserts that the Respondent is not known by any of the
disputed domain names. The Complainant was not aware of the list of domain
names that Respondent owned. The Complainant states that it did not own the
PORNTUBE trademark prior to February of 2011, therefore any discussion
between the operator of the <porntube.com> mark and Respondent is irrelevant.


With regard to the allegation of reverse domain name hijacking, the Complainant
states that the Respondent’s reverse hijacking claim was brought in bad faith, as
Complainant owns three registered trademarks for the PORNTUBE mark.


The Complainant also provides that the Petition for Cancellation taken by the
Respondent should not be determinative for the issues of the current
proceedings.


Respondent


                                                                               Ex. E - p. 7
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     The Respondent reinforces its argument as to the fact that the Complainant knew
     of, fostered, encouraged, rewarded and profited from the Respondent’s use of
     the disputed domain names for years.


     The Respondent also argues that the Complainant’s claim is barred by the
     doctrine of laches. In this regard, the Respondent emphasizes that this argument
     should not be mistaken as an admission that the Respondent has engaged in
     any wrongdoing.


     The Respondent then purports to provide a point form list of contentions against
     the issues raised by the Complainant’s additional submissions.


FINDINGS BY THE MAJORITY OF THE PANEL

     The Complainant Tenza Trading Ltd owns and operates an adult entertainment
     website under the domain name <www.porntube.com>. The Respondent owns
     and operates the thirteen (13) domain names at issue in the matter at bar.


     Complainant uses the PORNTUBE mark to provide entertainment services,
     including adult entertainment in the form of photographs, videos, film clips, and
     other multimedia materials. Complainant (or its predecessor in title) first used its
     mark in interstate commerce in May of 2005, when its predecessor in interest
     marketed and advertised the services under the mark, and since that time
     Complainant’s marketing efforts have resulted in worldwide sales of services
     using the PORNTUBE mark.


     Complainant’s website at its <porntube.com> domain name gets approximately
     1.8 million unique visitors per day, and prior to its filing date, Complainant’s
     commissions on sales were more than $2.7 million. One year later, in 2009,



                                                                                     Ex. E - p. 8
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     Complainant’s commissions on sales exceeded $5 million, and the number of
     unique visitors to its website nearly doubled.


     Complainant’s services under the PORNTUBE mark were well-known and well
     accessed by consumers.


     The Complainant operates an affiliate marketing program in association with its
     trademark and websites, wherein affiliates earn money for traffic directed to the
     <porntube.com> website. Complainant pays webmasters approximately $80,000
     per month, resulting to about 47 million visitors per month. Complainant has paid
     Respondent in excess of $132,140 over a period of 20 months for its services
     through the affiliate program.


     For the reasons set out below, the majority of Panel (Hugues G. Richard and
     David P. Miranda) is of the opinion that the disputed domain names should be
     transferred in favor of the Complainant.


DISCUSSION BY THE MAJORITY OF THE PANEL
     Paragraph 15(a) of the Rules instructs this Panel to "decide a complaint on the
     basis of the statements and documents submitted in accordance with the Policy,
     these Rules and any rules and principles of law that it deems applicable."


     Paragraph 4(a) of the Policy requires that Complainant must prove each of the
     following three elements to obtain an order that a domain name should be
     cancelled or transferred:


     (1) the domain name registered by Respondent is identical or confusingly similar
        to a trademark or service mark in which Complainant has rights; and
     (2) Respondent has no rights or legitimate interests in respect of the domain
        name; and


                                                                                       Ex. E - p. 9
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(3) the domain name has been registered and is being used in bad faith.


Identical and/or Confusingly Similar


As provided for above, the Complainant owns numerous trademarks in multiple
jurisdictions with regard to the PORNTUBE mark (U.S. Registration No.
3,936,197; Canadian Registration No. TMA 779,803; Community Trademark
Registration No. 008,725,401). From the evidence, it is also clear that the
Complainant has established common law right with regard to the PORNTUBE
mark.


The Respondent has filed a Petition for Cancellation (Calista Enters., Ltd v.
Tenza Trading Ltd., cancellation proceeding no. 92057048 (TTAB Apr. 10, 2013).
The Respondent also intends to pursue similar proceedings with regard to the
Complainant’s other trademark registrations of the PORNTUBE mark. Having
regard to that Petition, the majority of the Panel notes that it has the discretion
pursuant to Paragraph 18(a) of the Rules for Uniform Domain Name Dispute
Resolution Policy to suspend or terminate the present proceeding, or proceed to
a decision.


In consideration of the Complainant’s rights in the PORNTUBE mark, the majority
of the Panel will proceed to a decision. While acknowledging the Respondent’s
Petition for cancellation of the U.S. Registration, the majority of the Panel notes
that the U.S. Registration is on the principal Register; this is at the least an
indication that the USPTO, at the time of registration, did not consider the
PORNTUBE mark to be descriptive. Moreover, the trademark registrations in
Canada and Europe, where similar legislation with regard to descriptiveness
exists, are deemed valid. Even if the U.S. Petition for Cancellation was to be
successful, this would not affect the validity of the Canadian and Community
registrations. Furthermore, that Petition does not dismiss the Complainant’s


                                                                              Ex. E - p. 10
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established common law rights in the PORNTUBE mark, acquired through use
since at least 2005. In any event, complainant’s numerous trademark
registrations were held to be sufficient to demonstrate Complainant’s rights under
the Policy. See Honeywell Int’l Inc. v. r9.net, FA 445594 (Nat. Arb. Forum May
23, 2005).


The majority of the Panel finds that the disputed domains names are confusingly
similar to the Complainant’s trademark. The PORNTUBE mark is readily
apparent in the disputed domain names. The addition of an ordinary descriptive
term does not detract from the overall impression of the use of the PORNTUBE
mark in the disputed domain names. See Sony Kabushiki Kaisha v. Inja, Kil,
D2000-1409 (WIPO Dec. 9, 2000) (finding that “[n]either the addition of an
ordinary descriptive word . . . nor the suffix ‘.com’ detract from the overall
impression of the dominant part of the name in each case, namely the trademark
SONY” and thus Policy ¶ 4(a)(i) is satisfied); see also Am. Online Inc. v. Chinese
ICQ Network, D2000-0808 (WIPO Aug. 31, 2000) (finding that the addition of the
numeral 4 in the domain name <4icq.com> does nothing to deflect the impact on
the viewer of the mark ICQ and is therefore confusingly similar). Therefore,
Policy ¶ 4(a)(i) is met in favor of the Complainant.


Rights or Legitimate Interests


The majority of the Panel finds that the Complainant has made a prima facie
case that the Respondent lacks rights and legitimate interest in the disputed
domain names under Policy ¶ 4(a)(ii). The burden now shifts to the Respondent
to show it does have rights or legitimate interest in the domain names. See
Hanna-Barbera Prods., Inc. v. Entm’t Commentaries, FA 741828 (Nat. Arb.
Forum Aug. 18, 2006).




                                                                               Ex. E - p. 11
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In consideration of the evidence, the majority of the Panel holds that the
Respondent has not met that burden. The majority of the Panel notes in view of
the evidence that the Respondent’s domain names’ sole purpose is to re-direct
Internet users to commercial websites under an affiliate program. The use of
domain names to direct Internet users to a commercial website (including the
Complainant’s) under an affiliate program is not a bona fide offering of goods or
services under Policy ¶ 4(c)(i) or a legitimate noncommercial or fair use under
Policy ¶ 4(c)(iii). See Target Brands, Inc. v. Bealo Group S.A., FA 128684 (Nat.
Arb. Forum Dec. 17, 2002); see also AltaVista v. Krotov, D2000-1091 (WIPO
Oct. 25, 2000) (finding that use of the domain name to direct users to other,
unconnected websites does not constitute a legitimate interest in the domain
name).


Furthermore, it is difficult to find a bona fide offering when the Respondent uses
without permission a domain name confusingly similar to a competitor’s mark.
See L.F.P. Inc. v. Hustlertv.com, FA104134 (Nat. Arb. Forum, March 11, 2002),
citing Am. Online, Inc. v. Fu, D2000-1374 (WIPO Dec. 11, 2000) (finding that “[i]t
would be unconscionable to find a bona fide offering of services in a
respondent’s operation of web-site using a domain name which is confusingly
similar to complainant’s mark and for the same business.”).


Therefore, the majority of the Panel holds in favor of the Complainant with regard
to Policy ¶ 4(a)(ii).


Registration and Use in Bad Faith


The majority of the Panel finds that Policy ¶4(a)(iii) is also met in favor of the
Complainant. The Respondent’s registration and use of the disputed domain
names are in bad faith for two reasons.




                                                                              Ex. E - p. 12
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The majority of the Panel holds that the Respondent registered the disputed
domain names in bad faith under Policy ¶ 4(a)(iii) as shown by its actual
knowledge of the Complainant’s rights in the PORNTUBE mark. The evidence
reveals that the Respondent was aware of the Complainant’s use of the
PORNTUBE mark. See Yahoo! Inc. v. Butler, FA 744444 (Nat. Arb. Forum Aug.
17, 2006) (finding bad faith where the respondent was "well-aware of the
complainant's YAHOO! mark at the time of registration).


Moreover, the Respondent uses the disputed domain names to confuse
consumers and to attract Internet traffic to its website, in order to receive
commercial profit from third parties whose websites are linked to the
Respondent’s domain names. This demonstrates bad faith. The fact that the
Complainant’s website is among those third party websites is irrelevant as to the
present inquiry.


Therefore, the majority of the Panel holds in favor of the Complainant under
Policy ¶ 4(a) (iii).


Reverse Domain Name Hijacking


Having found that the Complainant has satisfied Policy ¶ 4(a)(i), the majority of
the Panel holds that the Complainant has not engaged in reverse domain name
hijacking. See World Wrestling Fed’n Entm’t, Inc. v. Ringside Collectibles,
D2000-1306 (WIPO Jan. 24, 2001) (“Because Complainant has satisfied [all of]
the elements of the Policy, Respondent’s allegation of reverse domain name
hijacking must fail”); see also Gallup, Inc. v. PC+s.p.r.l., FA 190461 (Nat. Arb.
Forum Dec. 2, 2003) (finding no reverse domain name hijacking where
complainant prevailed on the “identical/confusingly similar” prong of the Policy).




                                                                               Ex. E - p. 13
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                               DISSENTING OPINION

I respectfully dissent and would suspend the proceeding pursuant to paragraph
18(a) of the Rules. That Rule states:

       (a) In the event of any legal proceedings initiated prior to or during an
       administrative proceeding in respect of a domain-name dispute that is the subject
       of the complaint, the Panel shall have the discretion to decide whether to
       suspend or terminate the administrative proceeding, or to proceed to a decision.

Earlier this year the panel in CRM Info Tech, LLC, d/b/a CRMIT.COM v. c/o
CRMIT.COM; c/o CRMPLUSPLUS.COM considered the applicability of Rule
18(a) and surveyed several decisions where UDRP panels deferred to ongoing
extra-UDRP litigation in lieu of their reaching a decision on the merits. The list of
cases is recounted below:

       Salba Corp. N.A. v. X Factor Holdings, FA 1443427 (Nat. Arb.
       Forum June 25, 2012) (holding that a UDRP arbitration should not
       proceed where there is pending litigation involving the same issues and
       requesting similar relief);


       Your Baby Can, LLC v. Edmonds, FA 1439429 (Nat. Arb. Forum May 29,
       2012) (dismissing the complaint based on concurrent court proceedings
       that the complainant filed against the respondent that directly relates to
       the relationship between the parties);


       The Gap, Inc. v. G.A.P Adventures Inc., FA 1419226 (Nat. Arb. Forum
       Feb. 13, 2012) (refusing to make a decision on the merits of the dispute
       under the UDRP when litigation involving the parties’ various claims to
       trademark rights was active and relating to how those rights might affect,
       among other more significant issues, ownership of the disputed domain
       name);




                                                                                   Ex. E - p. 14
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      Bluemile, Inc. v. McCockin, FA 1411110 (Nat. Arb. Forum Nov. 28, 2011)
      (finding that it was appropriate to have the issue be revisited and resolved
      within the court system where there was ongoing litigation in the U.S.
      District Court in Ohio relating to the disputed domain name where, despite
      the respondent not being a named defendant in the case, the complainant
      alleged that a representative of the defendant transferred the disputed
      domain name to the respondent in an attempt to circumvent the court
      order); and


      Acumen Enters., Inc v. Morgan, FA 1381503 (Nat. Arb. Forum May 17,
      2011) (finding that the dispute should be dismissed given that the
      complainant had filed a lawsuit in the U.S. District Court for the Northern
      District of Texas requesting the same relief requested of the Panel, and
      where the Panel noted that the relief of transfer of the domain name
      sought before the U.S. Court was essentially the same as the relief sought
      in the UDRP proceeding).


CRM    Info   Tech,   LLC,   d/b/a   CRMIT.COM      v.   c/o   CRMIT.COM;       c/o
CRMPLUSPLUS.COM, FA 1472279 (Nat. Arb. Forum January 16, 2013)


These cases and others, including CRM Info Tech itself, instruct that when during
the pendency of a UDRP proceeding there is ongoing litigation that considers an
essential UDRP issue, the UDRP case should be suspended or terminated.


About the time Complainant filed its Complaint with the National Arbitration
Forum, Respondent filed its Petition for Cancellation with the Trademark Trial
and Appeal Board (“TTAB”) regarding Complainant’s USPTO registration for
PORNTUBE. See Calista Enters., Ltd. v. Tenza Trading Ltd., cancellation
proceeding No. 92057048 (TTAB Apr. 10, 2013). Respondent’s Petition, as well
as its UDRP papers, set out several arguments which support the position that


                                                                               Ex. E - p. 15
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Complainant lacks trademark rights in the PORNTUBE mark because such mark
is wholly generic or descriptive, despite the mark also being registered with
several registries outside the United States. Respondent’s contentions seem
genuine, are reasonable and there is no indication that Respondent filed its
Petition merely to delay the instant proceeding. Importantly, whether or not
Complainant has rights in the PORNTUBE mark is a crucial consideration in
deciding the case now before the Panel.


I do not argue with the Majority regarding their finding that Complainant’s various
trademark registrations are sufficient to support a conclusion that Complainant
has rights in a mark for the purposes of the Policy ¶4(a)(i), and would still not
argue even if the PORNTUBE mark was not registered with the USPTO, since
the mark is also registered elsewhere around the world.             However, the
fundamental issue of whether or not Complainant’s mark is generic or
descriptive, which is now squarely before the TTAB, is critical to the Panel’s
inquiry regarding Respondent’s rights or interests under Policy ¶4(a)(ii) and also
to its inquiry regarding Respondent’s bad faith under Policy ¶4(a)(iii). If
Complainant’s mark is generic or descriptive and has no secondary meaning,
then the mark cannot be trademarked. If PORNTUBE is not and never was a
trademark, then Respondent cannot be acting in bad faith since Respondent
could not have contemplated Complainant’s non-existent trademark right when
registering the at-issue domain name. Likewise, if the mark is generic or
descriptive and has no secondary meaning; Complainant may not have priority
rights as to the registration of a domain name containing what, under U.S. law
would amount to merely descriptive terms. There may also be important
implications from the TTAB’s future findings regarding the applicability of one or
more of the Policy ¶ 4(c) factors to respondent’s claim of rights or interests in
respect of the domain name.




                                                                              Ex. E - p. 16
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     Would the Majority’s decision be the same if prior to the commencement of the
     instant UDRP action the TTAB had cancelled Complainant’s USPTO registration
     for PORNTUBE, finding the mark to be generic and descriptive and without
     secondary meaning? Unless the answer to this question is an unequivocal “yes,”
     which I believe it is not, I submit that any decision on merits by the Panel should
     at least be deferred until the TTAB weighs in. For the reasons stated above I
     would suspend the proceeding accordingly.


DECISION OF THE MAJORITY OF THE PANEL
     Having established all three elements required under the ICANN Policy, the
     majority of the Panel concludes that relief shall be GRANTED.
                                                          GRANTED


     Accordingly, it is ordered that the <largeporntube.com>
                                         <largeporntube.com>,
                                                  ntube.com> <goldporntube.com>,
                                                              <goldporntube.com>
     <kissporntube.com>,
     <kissporntube.com> <boxporntube.com>,
                         <boxporntube.com> <pipeporntube.com>,
                                           <pipeporntube.com>
     <69porntube.com>,
     <69porntube.com> <royalporntube.com>,
                       <royalporntube.com> <bookporntube.com>,
                                           <bookporntube.com>
     <cubeporntube.com>,
     <cubeporntube.com> <freshporntube.com>,
                         <freshporntube.com> <lustporntube.com>,
                                             <lustporntube.com>
     <bonusporntube.com> and <directporntube.com> domain names be
     <bonusporntube.com>,
     TRANSFERRED from Respondent to Complainant.




                                Hugues G. Richard,
                                 Presiding Panelist




                                                                                   Ex. E - p. 17
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                           David P. Miranda
                                Panelist




                        Dissenting, Paul DeCicco
                                Panelist


                          Dated: June 6, 2013




                                                                            Ex. E - p. 18
